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%AO 199A (Rev. 6/97] Order Setting Conditions ol`Release Page l of`

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UNITED STATES DISTRICT CoURT

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United States of America

 

 

ORDER SETTING CONDITIONS

 

V_ OF RELEASE
Tp/`l/W_ pmm/lo Case Number: Oq.. lomg' _T
Defendant

IT IS ORDERED that the release of the defendant is subject to the following conditions:
(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

(2) The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing before any change in
address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

directedl The defendant shall appear at (if blank to be notified) _Mm%@gm

[CK 1*5\, m_l}_!edawdaa m --.20 05 q: 30 a m.

Date and Time

Release on Personal Recognizance or Unsecured Bond
IT lS FURTHER ORDERED that the defendant be released provided that:
( \/ ) (4) The defendant promises to appear at all proceedings as required and to Surrender for service of any sentence imposed.
( ) (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

dollars ($ )
in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed

 

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Additional Conditions of Release

Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other persons and the
community.

IT IS FURTHER ORDERED that the release ofthe defendant is subject to the conditions marked below:
( ) (6) The defendant is placed in the custody of:

[Name ofperson or organization)
{Address)
(City and state) (Tel. NO.)

who agrees (a) to supervise the defendant in accordance with all the conditions of release, (b) to use every effort to assure the appearance of the defendant at all scheduled court
proceedings, and (c} to notify the court immediately in the event the defendant violates any conditions of release or disappears.

 

 

 

Signed:

 

Custodian or Proxy Date
( \/)('i') ie defendant sliai]: y ` '
t <a) report to the MIMGP SQWLCEO ,

telephone number , not later than ,
(\A/(b] execute a bond or y agre$nent to forfeit upon failing to appear as required the following sum ofmoney or designated property;
_4?0. 000 10 O

( l/Kc} post wi the ri the follo `ng indicia of ownership ofthe above-described property, or the following amount or percentage ofthe above-described
J o o $>£OO& .

( d) e'xecute a bail bond with solvent sureties in the amount of$

( (e) maintain or actively seek employment

( ) (f) maintain or commence an education program.

t )(g) surrender any passport to:

( } h) obtain no passport

( (i) abide by the fol wing restii;tions on personal association, plac of abode, or travc]: (|_Ul}"h momef)

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avoid all contaet, direct y or indire tly, with any persons who are or who may become a victim or potential witness in the sub'ject investigation or
prosecution, including but not limited to; {qo‘) ql, U , lge>L_l

( ) lk) undergo medical or psychiatric treatment and/or remain in an institution as follows;

 

 

 

     
  

( )(j)

( )(l) return to custody each (week) clay as of o’clock after being released each (week) day as of o`elock for employment,
schooling, or the following limited purpose[s):

 

( } (m} maintain residence ata halfway house or community corrections eenter, as deemed necessary by the pretrial services office or supervising officer.

( } (n) refrain from possessing a firearm, destructive devicc, or other dangerous weapons.

( }(o) refrain from ( ) any ( ) excessive use of alcohol.

(¢/}Tp) refrain from use or unlawful possession ofa narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical
practitioner.

( |/}’(q} submit to any method of testing required by the pretrial services office or the supervising officer for determining whether the defendant is using a prohibited
substance Sueh methods may be used with random frequency and include urine testing, the wearing ofa sweat patch, a remote alcohol testing system, and/or
any form ofprohibited substance screening or testing.

{ \/{(r) participate in a program of inpatient or outpatient substance abuse therapy and counseling if deemed advisable by the pretrial services office or supervising
officer

( ) (s) refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy ofany prohibited substance testing or electronic
monitoring which is (are) required as a condition(s) ofrclease.

( /{(t) participate in one ofthe following home confinement program components and abide by all the requirements ofthe program which ( ) will or
( ) will not include electronic monitoring or other location verification system. You shall pay ali or part ofthe cost ofthe program based upon your ability
to pay as determined by the pretrial services office or supervising officer.

( ./}/ (i) Curfew. You are restricted to your residence every day (\/Tfrom h E- ml to la a»m,. or ( ) as directed by the pretrial
services office or supervising ofl'lcer; or

( ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical, substance abuse,
or mental health treatment; attorney visits; court appearances; conn-ordered obligations; or other activities as pre-approved by the pretrial services
office or supervising officer; or

( ) (iii] Home Incarceration. You are restricted to your residence at all times except for medical needs or treatment, religious services, and court
appearances prc'approved by the pretrial services otiice or supervising officer.

t ) (u) report as soon as possible, to the pretrial services office or supervising officer any contact with any law enforcement personnel, including, but not limited
to, any arrest, questioning, or traffic stop.

( ) {V)
( ) (W)
( ) (X}

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Pages
Advice of Penalties and Sanetions

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

/\ violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a fine,
or both.

The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment
of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misdemeanorl
This sentence shall be in addition to any other sentenee.

Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to obstruct a criminal
investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness, victim
or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a witness,
victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious
if they involve a killing or attempted killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. lf you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than SIO0,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of Defendant

I acknowledge that I am the defendant in this ease and that l am aware of the conditions of release. Ipromise to obey ali conditions
of release, to appear as directed, and to surrender for service of any sentence imposed. lam aware of the penalties and sanctions set forth

above gift/ny QBJrLLG/`IM’F'L

Signature of Defendant

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F.D W* q Address
moment _Qs\uand.‘tki osorio

City and State ' Telephone

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Direetions to United States Marshal

( ) The defendant is ORDERED released after processingl
( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant

has posted bond and/or complied with all other conditions for release, 'fhe defendant shall be produced before the appropriate
judge he time and place specified, ifstill in custody. 7

 
  

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Date:

   

Signature ofJudge

 

Name and Title of Judge

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:04-CR-10098 Was distributed by faX, mail, or direct printing on
July l 1, 2005 to the parties listed.

 

 

Blake Ballin

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Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

